5AO 245C (Rev. l2l03)Case 3:00-cr-00153-SEC
                     Amended
                           Judgment a Criminal Case                 Document 130           Filed 04/05/06             PageIdentify
                                                                                                                    (NOTE:  1 ofChanges
                                                                                                                                   5  with Asterisks(*))
         SheetI


                                                 NITED STETPSDISTRICTCOUNT
                           FORTHE                                     Districtof                                PUERTORICO
           UNITED STATESOF                                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                v.
              RALPH ROSARIO.                     AZ                              CaseNumber:                           (sEC)
                                                                                                               00-cR-1s3
                                                                                 USM Number:                   0l
Date of Original Judgment:                       t02                             JOSER. AGUAYO. ESQ.
(Or Date of Last AmendedJudgment)                                                Defendant'sAttomey

Reasonfor Amendment:
I    Correctionof Sentenceon Remand(18 U.S 3742(f)(t)and(2))                     I Modificationof SupervisionConditions (18 U.S.C.$$ 3563(c)or 3583(e))
I    Reductionof Sentencefor Changed          (Fed.R. Crim.                      n Modiflcation of ImposedTerm of Imprisonmentfor Extraordinaryand
     P. 35(b))                                                                     Compelling Reasons  (18 U.S.C.$ 3582(cXl))
I    Conectionof Sentenceby Sentencing
                                     Court   R. Crim.P.35(a))                    E Modificationof ImposedTermof Imprisonment   for RefoactiveAmendment(s)
                                                                                   to theSentencing Guidelines(18 U.S.C.$ 3582(cX2))
n    Conection of Sentencefor Clerical Mistake    . R. Crim.P.36)
                                                                                 X   DirectMotion to District CourtPursuant )(   28 U.S.C.$ 2255or
                                                                                               $ 3s5e(cX7)
                                                                                     n l8 U.s.c.
                                                                                 !                            Order(18 U.S.C.$ 3664)
                                                                                     Modificationof Restitution

TIM DEFEI\DANT:
X     pleadedguilty to count(s) ONE
D   pleadednolocontendere      to count(s
    whichwasaccepted     by the court.
! wasfound guilty on count(s)
    after a plea ofnot guilty.
The defendantis adjudicatedguilty of               offenses:
Title & Section                                                                                                  OffenseEnded                  Count
2l:846                                            to posseswith intent to dishibute at least 500 grams,             06t20/95                     I
                                                                                           "A" felony.
                                    but less     n l'5 kilograms of cocainebase.A Class




       The defendantis sentencedas               videdin pages2           throueh5          of thisjudgment. The sentence
                                                                                                                        is imposedpursuantto
the SentencingReform Act of 1984.
tr                   beenfoundnot
      The defendanthas                                on count(s)
X     Count(s)                    Two                        X is ! aredismissedon themotionof theUnitedStates.
           It is ordered that the defendant       stnotifu the United StatesAttorney for this district within 30 days of any changeof name,residence,
                until all fines.restitut
or mailinsaddress                                 .costs,ind specialassessments.imposed   by this judgment are fully paid.-If orddredto pay restitution,
            mustnotifo the courtand
the defenEant                                     lted states attorney ot materral cnangesrn economlc c[crunstances.
                                                                                 (*)April5.2006
                                                                                 Date of Imposition of Judgment


                                                                                             6. e^""il"",
                                                                                 Sl 5 ".tn^A^*
                                                                                 SignatureofJudge
                                                                                 SALVADORE. CASELLAS.U.S.DISTRICTruDGE
                                                                                 Name and Title of Judge
                                                                                 (*)April 5.2006
                                                                                 Date
Ao 245C            Case
           (Rev. l2l03)   3:00-cr-00153-SEC
                        Amended     in a CriminalCase Document 130            Filed 04/05/06      Page 2 of 5
           Sheet2 - Imprisonment                                                                                     with Asterisks(r))
                                                                                                (NOTE:Identiff Changes
                                                                                            Judgment-Page -2-         of         5
DEFENDANT:              RALPH
CASENUMBER:             00-cR-15(01)(sEc)

                                                     IMPRISONMENT

    The defendant is hereby      ittedto the custodyof theUnited StatesBureauof Prisonsto be imprisonedfor a
total term   262 MONTHS                        oN JULY 18.1999.
(Thepartiesconsidertat the loca sentences imoosedon February7. 1992.andFebruary1992.at the SuperiorCoun in
ilumdcao.citedundercriminalc senumbers:     Gqt-trs:, ESC91G-0351,   lnd ESC91G:0324  asrelatedtb theinstant
offense.Sincethe defendanthas 'eenin FederalCustodysinceMav 7.1996, and his local sentenceexpiredon July 18,
                                                                           *$"4 fotalpapprollmalefV
                                                        thei'gtio^{sp6cified,
1999,the defendantwill be giv creditfor timeserved.iluring                                           3f-rr.r,on!hs,
I'hls sentence
This          reoresentsa total
      sentencereDresents  total I    sentenceof 300 monthswith 38 monthscreditedfor the time the defdndanthas
servedin federafcustodv.Becaui theCourtcannotrequiretheBureauof Prisonsto givecreditfor prior custody,262
monthsis imposed.Furthermore, resentenceimposedis not a departurefrom the apflicableguidelinerangebebause
                                                                                                        the
defendantha-sbeen credited time rderusSG $ 5G1.3(b).)

X    The courtmakesthe fol            recornmendations to the Bureauof Prisons:
     That defendant serve i               termeitherin Ft. Dix, New Jerseyor anyinstitutionin Floridabut not in theColeman
     facility.



X    The defendantis remanded the custodyof the UnitedStatesMarshal.

n    The defendantshall s             to theUnited StatesMarshalfor this dishict:
     D a t                                 tr   a.m.     D    p.m.       on
     !     asnotifiedby theUnited

tr   The defendantshall surrender     serviceof sentence                          by theBureauof Prisons:
                                                       at the institutiondesignated

     !     before2 p.m. on

     n     asnotified by the United

     tr    asnotifiedby the           or PretrialServicesOfftce.


                                                           RETURN
I have executed this judgment as fo




     Defendant delivered on

                                                with a certified copy of this judgment.




                                                                                          UNITED STATESMARSHAL


                                                                   By
                                                                                      DEPUTY LINITEDSTATESMARSHAL
AO245C           (Rev.l2l03)Amended         in a CriminalCase
                        Case 3:00-cr-00153-SEC
                 Sheet3 - Supelised Release
                                                              Document 130             Filed 04/05/06          Page
                                                                                                             (NOTE:   3 ofChanges
                                                                                                                   Identify 5 with Asterisks(i))
                                                                                                          Judgment-Page ___3_       of -:-
DEFENDANT:                     RALPH    ARIO.DIAZ
CASENUMBER:                    00-CR-1 (01)(sEC)
                                                         SUPERVISEDRELEASE
Uponrelease
          fromimprisonment, defendantshallbe on supervised
                                                         releasefor a termof                           FIVE (5) YEARS.




                                                                                        is releasedwithnT2 hoursof releasefrom
         The defendantmust report l theprobationoffice in thedistrictto whichthedefendant
the custody of the Bureau of Prisons
The defendant shall not commit                federal, state,or local crime.
The defendant shall not unla                 ressa conholledsubstance.The defendantshallrefrainfrom anvunlawfuluseof a controlled
substance. The defendant shall               to onedrugtestwithin 15 daysof releasefrom imprisonmentanil at leasttwo periodicdrugtests
thereafter, as determined by the

!          The above drug testing conditi    is suspended,basedon the court's determinationthat the defendantposesa low risk of
                         abuse.(
           futuresubstance                   if applicable.)
x          The defendantshall not                   a firearm, destructivedevice,or any other dangerousweapon.
tr The defendantshall cooperate the collection of DNA as directed by the probation officer. (Check, if applicable.)
!          The defendantshall registerwi     the state sex offender registration agencyin the statewhere the defendantresides,works, or is a
           student, as directed by the          officer. (Check, if applicable,)

tr         The defendantshallparticipate an approvedprogram for domestic violence. (Check, if applicable.)
        If this iudsmentimposesa             e or restitution, it is a condition of supervised release that the defendant pay in accordance with
the ScheduleofPaimentsslieetof t             judgment.
              The defendantmust              with the standardconditionsthat havebeenadoptedby this court as well as with anyadditional
conditions on the attachedpage.

                                             ANDARD CONDITIONS OF SUPERVISION
     l)     the defendantshall not leave      judicial distict withoutthepermissionof thecourtor probationofficer;
     2)     the defendantshall report to     probationoflicer andshall submita truthful andcompletewritten reportwithin the first five daysof
            each month:
     3)     the defendant shall answer          y all inquiriesby theprobationofficer andfollow the instructionsof theprobationofficer;
     4)     the defendant shall support      or her dependents
                                                            andmeetotherfamily responsibilities;
     5)     the defendantshall work                                   unlessexcusedby theprobationofficer for schooling,taining, or other
                                                at a lawful occupation,
            acceptablereasons;
     6)     the defendant shall notifv the           officer at leastten daysprior to any changein residenceor employment;
     7)     the defendant shall refrarn      excessiveuse ofalcohol and shall not purchase.Dossess.use. distribute. or administer any
            contolled substanceor anv        rphernaliarelated to any controlled sudstances,6icept ad preicribed by h physiciant
     8)     the defendant shall not          placeswhereconholledsubstances
                                                                          areillegally sold,used,distributed,or administered;
     e) the defendant shall not               with any personsengagedin criminal activity and shall not associatewith any person convicted of
            a felony, unlessgranted           on to d,5so by the pioSation offrcer;
    l0) the defendantshall permit a                                                                          andshallpermitconfiscationof
                                               rtionofficer to visit him or her at anytime at homeor elsewhere
            anv contrabandobservedin           view ofthe probationofficer;
    l l)    m, arf"na*t    shall notifythe                                  hoursofbeinganestedor questioned
                                                ion officerwithin seventy-two                              by a lawenforcement
                                                                                                                            officer;
    r2) the defendantshall not enter           any agreementto act as an informer or a special agent of a law enforcementagencywithout the
            permissionof the court;and
    13) as directed bv the probation c          thedefendant  shallnotifuthirdpartiesof risksthatmaybe occasioned
                                                                                                                bv thedefendant'scriminal
            r-ec-ord,pers6nal history, or       cteristicsand shall penirit the'probationofficer to'make suchnotif"rcations
                                                                                                                          and confirm the
            ;t;?;4"f,t{;ffipiffi;i"i6           notrllcatlonrequrrement.
AO245C   (Rev. 12103)Amended   in a CriminalCase
                Case 3:00-cr-00153-SEC
         Sheet3,{ - Supervised
                                                 Document 130   Filed 04/05/06      Page 4 of 5
                                                                                  (NOTE:           with Asterisks(r))
                                                                               Judgment-Page -!-    of ----l-
DEFENDANT:          RALPH             DTAZ
CASENUMBER:         00-cR-15(01)(sEc)

                               DITIONAL SUPERVISEDRELEASE TERMS
1. The defendantshallprovide        ProbationOfficer accessto any financialinformationuponrequest,andshall
produceevidenceto theU.S.Pr        Officer to the effectthat annualincometax retumshavebeenduly filed with the
Commonwealthof PuertoRico          rentof Treasuryasrequiredby law.
                  Case 3:00-cr-00153-SEC                  Document 130               Filed 04/05/06     Page 5 of 5
AO245C     (Rev.l2l03)Amended        in a CriminalCase
           Sheet5 - CriminalMonetary                                                                  (NOTE:Identi        with Asterisks(r))
                                                                                               Judgment- Page               -
DEFENDANT:                                 ROSARIO.DIAZ
CASENUMBER:                              -1s3(01)(SEC)
                                          CRIMINAL MONETARY PENALTIES
     The defendantmustpay the               total criminalmonetarypenaltiesunderthe scheduleof paymentson Sheet6,
                    Assessment                                        Fine                            Restitution
TOTALS           $ 100.00                                        $    NONE                          S NONE



tr   The determinationof restitution defened until                   An AmendedJudgmentin a Criminal Case(Aa 245C)will be
     enteredaftersuch

n    The defendantshall make               (includingcommunityrestitution)to thefollowingpayeesin theamountlistedbelow.

     If the defendant makes a partial avment.each oavee shall receive an aDDroximatelvproportioned pa'irrnent,unless specified otherwise
     in the prioritv order or percentap p'aymeritcolumribelow. However, puisuant to l8 U.S.C. $ 3664(t, all nonfederalvictims must be paid
     beford tlre tlnited StatEsis paid

Nameof Pavee                              Total Loss*                         RestitutionOrdered                Prioritv or Percentaee




TOTALS


tr   Restitutionamountordered               to plea agreement $

D    The defendantmustpay interest restitutionanda fine of morethan$2,500,unlesstherestitutionor fine is paid in full beforethe
     fifteenth day after the dateof judgment,pursuantto l8 U.S.C.$ 3612(0. All of thepaymentoptionson Sheet6 maybe subject
     to penaltiesfor delinquencyand     It, pursuant
                                                   to l8 U.S.C.$ 3612(g).

n    The court determinedthat the                doesnot havetheability to pay interest,andit is orderedthat:

      !   the interestrequirementis          for     n    fine       !restitution.

      D the interestrequirementfor           n     fine     n    restitutionis modifiedasfollows:


* Findinss for the total amount of los    arerequiredunderChapters109,4,,I10, I l0A, and l13,{ of Title 18for offensescommittedon or
after Sep-tember13, 1994, but before      ril23;1996.
